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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Michael L. Shakman, et al.,                            )
                                                       )      Case No. 69-cv-2145
                Plaintiffs,                            )
                                                       )      Magistrate Judge: Sidney I. Schenkier
v.                                                     )
                                                       )
Clerk of Cook County, et al.,                          )
                                                       )
                Defendants.                            )

                  DEFENDANT’S MOTION FOR PROTECTIVE ORDER

         Defendant Clerk of Cook County (“Clerk”), by and through her attorneys, moves this court,

pursuant to Federal Rule of Procedure 26, to enter a Protective Order quashing the subpoena issued

to non-party Citizens to Elect Karen Yarbrough by Brian Hays of Locke Lord, LLP, counsel for

plaintiffs dated January 22, 2020.

                                             Background

         On January 22, 2020, plaintiffs’ counsel issued a subpoena to Citizens to Elect Karen

Yarbrough (“CEKY”), a non-party, directing CEKY to produce a 30(b)(6) witness to testify on

February 5, 2020. The subpoena requested testimony on forty-two topics. On February 14, 2020,

Plaintiffs filed a Motion to Compel a 30(b)(6) witness to testify on behalf of CEKY. (Dkt. 6726) On

February 18, 2020, CEKY filed a Motion to Quash the subpoena. (Dkt. 3731)

                                               Argument

         Rule 26 provides “[a] party or any person from whom discovery is sought may move for a

protective order in the court where the action is pending -- or as an alternative on matters relating to

a deposition, in the court for the district where the deposition will be taken.” Fed. R. Civ. P. 26(c)(1).

Rule 26(c)(1) requires this Court to analyze whether good-cause exists to enter a protective order. Fed.

R. Civ. P. 26(c)(1). This requires a case-specific balancing of all the facts and circumstances, taking




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into account the importance of disclosure to the nonmovant and the potential harm to the party

seeking the protective order. Prince v. Kato, 2019 U.S. Dist. LEXIS 126516, *7 (N.D. Ill. 2019).

I.       Plaintiffs seek testimony from Clerk Yarbrough after this Court expressly stated that
         she would not be required to sit for deposition in this case.

         Plaintiffs’ subpoena to non-party CEKY to produce a 30(b)(6) witness is a thinly veiled

attempt to sidestep this Court’s decision not to permit deposition of Clerk Yarbrough. The Court

advised Plaintiffs’ counsel in chambers that they would not be permitted to take the deposition of

Clerk Yarbrough. Instead, the Clerk’s Office would produce a witness to speak to the hiring practices

of the office, as well as other policies and procedures of the Office. Now, Plaintiffs’ subpoena to

CEKY seeks testimony from a 30(b)(6) witness on:

         8. Hiring practices at the Clerk’s Office, including employee hiring, promotions,
         transfers, reassignments, or other employment actions from January 1, 2018 through
         the present and policies and procedures related thereto.

         9. Hiring practices at the Recorder’s Office in connection with the combination of the
         Clerk’s Office and the Recorder’s Office.

         10. Policies and procedures related to political activity at the Clerk’s Office, including
         communications related to the solicitation of political contributions from Clerk
         Employees.

See Ex. 1, CEKY Mot. at paragraphs 8-10

         The Clerk is producing a Rule 30(b)(6) witness to provide testimony related to policies and

procedures on behalf of the Clerk’s Office. Despite this, Plaintiffs have issued the subpoena to CEKY

requesting information that the Clerk’s office would possess (and information regarding the

Recorder’s Office that neither the Clerk’s Office nor CEKY would possess). The only reason Plaintiffs

would issue such a subpoena is to ignore the distinction between official and individual capacities of

Clerk Yarbrough by requiring her to testify on a number of topics unknown to CEKY as an

organization. As a result, the subpoena is nothing more than an attempt by Plaintiffs to depose Clerk

Yarbrough in violation of this Court’s ruling in chambers that Clerk Yarbrough would not be deposed.


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This Court should issue a protective order to prohibit Plaintiffs from using a subpoena to CEKY to

contravene this Court’s prior order.

II.     Plaintiffs may not bring claims against Clerk Yarbrough in her individual capacity.

        Plaintiffs’ subpoena to CEKY seeking testimony from a 30(b)(6) witness again shows that

Plaintiffs believe the Motion for Supplemental relief is directed against the Clerk in her individual,

rather than her official capacity. Clerk Orr could not bind Clerk Yarbrough in her individual capacity.

Hernandez v. O’Malley, 98 F.3d 293, 295 (7th Cir. 1996). As the Seventh Circuit has stated in Hernandez,

“[w]e cannot fathom why a person suing to enforce the Shakman decree might want to pursue the

officeholders in their personal capacities, except for purposes of harassment, which is hardly a reason

the court should approve.” Id. Plaintiffs must have a legitimate need for requested discovery, not

simply idle curiosity or harassment. Prevue Pet Prods. v. Avian Adventures, 200 F.R.D. 413 (N.D. Ill. 2001).

Plaintiffs’ subpoena to CEKY again shows that Plaintiffs’ are attempting to enforce the Shakman

decree against Clerk Yarbrough in her individual capacity. As this is improper, this Court should issue

a protective order quashing the subpoena issued to CEKY.

        As the Clerk argued in her response to Plaintiffs’ Motion for Supplemental Relief, Plaintiffs’

lack standing to bring their Motion, and the Motion presents a non-justiciable question. (Dkt. 6585,

p. 2) Instead, Plaintiffs’ attempt to bring claims against the Clerk in her individual capacity. Plaintiffs’

subpoena to CEKY is another example of this improper attempt by Plaintiffs.

                                               Conclusion

        WHEREFORE, Defendant Clerk of Cook County, respectfully requests this Court enter a

Protective Order quashing the subpoena dated January 22, 2020 directing CEKY to produce a 30(b)(6)

witness.




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                                        Respectfully submitted,

                                        HINSHAW & CULBERTSON LLP


                                        /s/ Adam R. Vaught
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